
191 P.3d 670 (2008)
221 Or. App. 699
Anthony Blake ELLIOTT, Petitioner,
v.
BOARD OF PAROLE AND POST-PRISON SUPERVISION, Respondent.
A127739.
Court of Appeals of Oregon.
Argued and Submitted June 27, 2008.
Decided August 13, 2008.
Irene B. Taylor, Deputy Public Defender, argued the cause for petitioner. With her on the briefs were Peter Ozanne, Executive Director, and Peter Gartlan, Chief Defender, Legal Services Division, Office of Public Defense Services.
Erin C. Lagesen, Assistant Attorney General, argued the cause for respondent. On the brief were Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Ryan Kahn, Assistant Attorney General.
Before EDMONDS, Presiding Judge, and WOLLHEIM, Judge, and HUCKLEBERRY, Judge pro tempore.
PER CURIAM.
Affirmed. Cole v. Board of Parole, 220 Or.App. 362, 186 P.3d 321 (2008).
